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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES - GENERAL
 Case No.             SA CV 16-00791 WDK-PLA                                 Date      December 14, 2017
 Title                J & J SPORTS PRODUCTIONS, INC. V. SOMROJ OPAL
                      CHAIYAKHAM, ET AL.


 Present: The Honorable                 WILLIAM D. KELLER
            CHERYL WYNN                                         N/A                               N/A
                 Deputy Clerk                        Court Reporter / Recorder                  Tape No.
                Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                              N/A                                                     N/A
 Proceedings:                 (In Chambers:) THIRD-PARTY DEFENDANT’S MOTION TO
                              DISMISS [37]

         On April 28, 2016, plaintiff J & J Sports Productions, Inc. filed suit against defendants and third-
party plaintiffs Somroj Opal Chaiyakham, individually and d/b/a Thai on Main, Pascal Chheng,
individually and d/b/a Thai on Main, and Srithai, Inc., an unknown business entity d/b/a Thai on Main
(hereinafter “third-party plaintiffs”), alleging violations of 47 U.S.C. §§ 605 and 553, conversion, and
violation of California Business and Professions Code § 17200, et seq. Third-party plaintiffs are
seeking indemnification from Frontier California, Inc. (“Frontier”) and have filed a First Amended
Third-Party Complaint against Frontier alleging the following claims: (1) negligent misrepresentation;
(2) negligence; (3) violation of California Business and Professions Code section 17200; (4) declaratory
relief/judgment pursuant to 28 U.S.C. section 2201; (5) indemnification pursuant to California Code of
Civil Procedure section 1060, declaratory relief for equitable comparative indemnity, and implied
contractual indemnity; and (6) tort of another. (See Doc. No. 31.)

       Before the Court is Frontier’s Motion to Dismiss the First Amended Third-Party Complaint. The
Court has considered the papers filed in support of and in opposition to the motion, and deems the
matter appropriate for resolution without oral argument. See L.R. 7-15.

        For the reasons stated by Frontier, the Motion to Dismiss the First Amended Third-Party
Complaint is GRANTED with leave to amend by January 16, 2018. See Doherty v. Wireless Broad.
Sys. of Sacramento, Inc., 151 F.3d 1129, 1131 (9th Cir. 1998), cert. denied, 528 U.S. 813 (1999).

         IT IS SO ORDERED.




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                                                               Initials of Preparer     cw


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